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6
7                  IN THE UNITED STATES DISTRICT COURT FOR THE
8                         EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )           2:03-CR-0202-GEB
                                   )
11             Plaintiff,          )           FINAL ORDER OF
                                   )           FORFEITURE
12             v.                  )
                                   )
13   ACEY R. JOHNSON,              )
     LONG N. LEE,                  )
14   VINESH PRASAD,                )
     MINESH PRASAD,                )
15   NARINDERJIT SINGH BHULLAR,    )
     PHUONG-HIEN LAM TRINH,        )
16   RAMESH KUMAR JAISINGH,        )
     KIM CHI LAM,                  )
17   RAJWANT VIRK,                 )
     DALBIR SINGH, and             )
18   DAVINDER SINGH BHULLAR,       )
          aka Shamsher Singh,      )
19                                 )
               Defendants.         )
20   ______________________________)
21        The Court makes the following FINDINGS:
22        1.   On September 15, 2004, this Court entered a Preliminary
23   Order of Forfeiture, ordering the forfeiture of the following
24   properties:
25              (a)   Approximately $41,101.00 in U.S. Currency
                      seized on or about April 29, 2003, at 2420
26                    Wittkop Way, Sacramento, California 95825;
27              (b)   Approximately $33,006.96 held in Wells Fargo
                      Bank accounts numbered 74304-17019 and
28                    6607441334, in the name of Phuong-Hien Lam Trinh

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1                      and another person, in California, and seized on
                       or about April 29, 2003; and
2
                 (c)   Approximately $7,977.00 in U.S. Currency seized
3                      on or about April 29, 2003, at 15526 Faysmith
                       Avenue, Gardena, California 90249.
4
5    The Court adjudged that based on the plea agreements of defendants
6    Narinderjit Singh Bhullar, Phuoung-Hien Lam Trinh, and Kim Chi Lam
7    and the stipulation of Phuoung-Hien Lam Trinh that the above-
8    described properties were subject to forfeiture pursuant to the
9    provisions of 18 U.S.C. § 981(a)(1)(C) (as incorporated by 28 U.S.C.
10   § 2461(c)) and/or 18 U.S.C. § 982(b)(1), (incorporating 21 U.S.C. §
11   853(p)).
12        2.    On October 21, 2004, this Court entered a Preliminary Order
13   of Forfeiture ordering the forfeiture of the following properties:
14               (d)   Approximately $278,628.31 in lieu of the real
                       property located in Curry County, Oregon, at 263
15                     Coast Guard Hill Rd., Port Orford, Oregon 97465,
                       described as lots 7 and 8, King Subdivision, Port
16                     Orford, County of Curry, assessor's parcel number
                       33015005CC Tax Lot 200;
17
                 (e)   Approximately $100,000.00 from the proceeds of
18                     the sale of the real property located at 11612
                       Kenwood Terrace, Fairfax, Virginia, in lieu of
19                     the real property located at 35 Mockingbird
                       Trail, Bailey, Colorado;
20
                 (f)   Approximately $75,672.00 in U.S. Currency seized
21                     on April 29, 2003 at 263 Coast Guard Hill Road,
                       Port Orford, Oregon;
22
                 (g)   Approximately $26,138.38 held in State
23                     Department Federal Credit Union accounts
                       numbered 101022-00 and 101022-01, in the name of
24                     Acey R. Johnson and Long N. Lee, in Virginia,
                       and seized on or about April 29, 2003;
25
                 (h)   Approximately $113,055.76 held in Charles Schwab
26                     & Co. account number 5463-2874, in the name of
                       Acey R. Johnson and Long N. Lee, in California,
27                     and seized on or about April 29, 2003;
28               (i)   Approximately $14,051.13 held in Klamath First

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1                     Federal Bank account number 2370045243, held in
                      the names of Acey R. Johnson, Long N. Lee, and
2                     another person, and approximately $29,950.88 in
                      Klamath First Federal Bank account number
3                     2370046423, held in the names of Long Lee dba
                      Lemon Grass Restaurant and another person, in
4                     Oregon, and seized on or about April 29, 2003;
5               (j)   Approximately $14,774.55 held in United Bank
                      account number 04293-2426, in the name of Acey
6                     R. Johnson, in Virginia, and seized on or about
                      April 29, 2003;
7
                (k)   Approximately $74,790.75 held in Washington
8                     Mutual Bank account number 38700000278683, in
                      the name of Tyura International, Inc., in
9                     Washington, and seized on or about April 29,
                      2003 in Sacramento, California; and
10
                (l)   All pearls of any type seized during the search
11                    of the household belongings of Acey Johnson and
                      Long Lee on August 12 and 13, 2003, at 608
12                    Folcroft Street, Baltimore, Maryland, Port of
                      Entry, with an appraised value of $9,605.00.
13
14   The Court adjudged that based on the plea agreements of defendants
15   Acey Johnson and Long Lee the above-described properties were
16   subject to forfeiture pursuant to the provisions of 18 U.S.C. §
17   981(a)(1)(C) (as incorporated by 28 U.S.C. § 2461(c)) and/or 18
18   U.S.C. § 982(b)(1), (incorporating 21 U.S.C. § 853(p)).
19        3.   On September 24, October 1, and 8, 2004, the United States
20   published notice of the Court’s September 15, 2004 Preliminary Order
21   of Forfeiture in the Metropolitan News-Enterprise (Los Angeles
22   County) and the Daily Recorder (Sacramento County), newspapers of
23   general circulation located in the counties in which the subject
24   properties listed in paragraphs 1.(a)-(c) above are located and/or
25   were seized.
26        4.   On October 29, and November 5 and 12, 2004, the United
27   States published notice of the Court’s October 21, 2004, Preliminary
28   Order of Forfeiture in The Washington Times (Fairfax County,

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1    Virginia); on November 3, 10, and 17, 2004, the United States
2    published notice of the Court’s October 21, 2004, Preliminary Order
3    of Forfeiture in the Daily Recorder (Sacramento County); on November
4    12, 19, and 26, 2004, the United States published notice of the
5    Court’s October 21, 2004, Preliminary Order of Forfeiture in the
6    Herald and News (Klamath County, Oregon); on November 13, 20, and
7    27, 2004, the United States published notification of the Court’s
8    October 21, 2004, Preliminary Order of Forfeiture in the Curry
9    Coastal Pilot (Curry County, Oregon); on January 7, 14, and 21,
10   2005, the United States published notice of the Court’s October 21,
11   2004, Preliminary Order of Forfeiture in The Recorder (San Francisco
12   County); and on April 1, 8, and 15, 2005, the United States
13   published notice of the Court’s October 21, 2004, Preliminary Order
14   of Forfeiture in The Baltimore Sun (Baltimore County, Maryland).
15   Said publications occurred in newspapers of general circulation
16   located in the counties in which the subject properties listed in
17   paragraphs 2.(d)-(l) above are located and/or were seized.             Said
18   published notices advised all third parties of their right to
19   petition the court within thirty (30) days of the publication date
20   for a hearing to adjudicate the validity of their alleged legal
21   interest in the forfeited property.
22        5.   The United States sent, or through the exercise of
23   reasonable diligence attempted to send, direct written notice by
24   certified mail to the following persons or entities known to have an
25   alleged interest in one or more of the above-described properties:
26              a.   Tyura International, Inc.
27              b.   Christopher Runckel
28              c.   Marilyn L. Oberbeck Lee

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1                 d.    Lemon Grass Restaurant
2         6.     No third party has filed a claim to the subject properties,
3    and the time for any person or entity to file a claim has expired.
4         Accordingly, it is hereby ORDERED, ADJUDGED and DECREED as
5    follows:
6         1.     A Final Order of Forfeiture is hereby entered forfeiting to
7    the United States of America all right, title, and interest in all
8    of the properties listed in paragraphs 1.(a)-(c) and 2.(d)-(l) above
9    pursuant to 18 U.S.C. § 981(a)(1)(C) (as incorporated by 28 U.S.C. §
10   2461(c)) and/or 18 U.S.C. § 982(b)(1), (incorporating 21 U.S.C. §
11   853(p)), to be disposed of according to law, including all right,
12   title, and interest of defendants Narinderjit Singh Bhullar, Phuong-
13   Hien Lam Trinh, Kim Chi Lam, Acey Johnson and Long Lee.
14        2.     All right, title, and interest in the above-described
15   properties shall vest solely in the name of the United States of
16   America.
17        3.     The United States shall maintain custody of and control
18   over the above-described properties until they are disposed of
19   according to law.
20
     DATED:     August 1, 2005
21
                                                  /s/ Garland E. Burrell, Jr.
22                                                GARLAND E. BURRELL, JR.
                                                  United States District Judge
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